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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION


UNITED STATES OF AMERICA             )
                                     )
     v.                              )        CRIMINAL ACTION NO.
                                     )        2:05cr066-MHT-WC
JOHN DARTER                          )             (WO)


                                 ORDER

     For good cause, it is ORDERED that (1) the hearing on the

revocation petition (doc. no. 298), now set for July 13, 2015, is reset for

October 1, 2015, at 10:00 a.m., in the Frank M. Johnson Jr. United States

Courthouse Complex, Courtroom 2FMJ, One Church Street, Montgomery,

Alabama; and (2), pursuant to 18 U.S.C. § 3583(i), defendant John

Darter’s supervision shall continue      so that the court may properly

adjudicate the matters stated in the petition and warrant alleging

noncompliance with the terms of defendant Darter’s supervised release

(doc. nos. 298 & 300).

                                   ***

     This order is based on the following understandings, which will

provide Darter with the mental-health help he needs as soon as possible:

The magistrate judge will enter an order instructing Darter to report to
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the Fellowship House on July 15, 2015.       Darter will remain in U.S.

Marshal's custody this evening and then will be released tomorrow

morning to home confinement with electronic monitoring until he

reports to Fellowship House. The electronic monitoring is not to punish

Darter, but rather is imposed so that the court can closely monitor his

whereabouts because of his emotional state and so that the court can be

sure he is getting the help he needs. The 60-day term at Fellowship

House will provide him with extensive drug and psychiatric treatment.

     DONE, this the 9th day of July, 2015.

                             /s/ Myron H. Thompson
                            UNITED STATES DISTRICT JUDGE
